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                         TINITED STATES DISTRICT COI]RT
                             DISTRICT OF MINNESOTA


 LTNITED STATES OF AMERICA"                            INDICTMENT

                      Plaintiff"
                                                       18 U,S.C. $ 922(dX1)
       V.                                              18 U.S.c. $ e22(eX1)
                                                       18 u.s.c. s e2a@)Q)
 (1) KYLE DALE CLARK,                                  18 U.SiC. $ e24(dx1)
 (2) JOSE ARCEGA-VEJAR,                                21   U.S.C.   $ 8a1(aX1)
     a/Wa"Jos Ar,"                                     21   U.S.C.   $ 841(bX1XA)
     a/Ha"Jose Robles,"                                21   U.S.C.   $ 846
 (3) VALERIE ANN CLARK,                                21   U.S.C.   $ 8s3
 (4) VANESSA LOUTSE COBENATS,                          28   U.S.C.   $ 2a61(c)
 (s) KATHr LYN DITDLEY,
 (6) COREY LEE DONNELL,
 (7) DREW WILLIAM GRAVES, and
 (8) KALYSSA KAILANI DEANAH WHITE,

                      Defendants.

       TFIE UNITED STATES GRAND JTJRY CHARGES TFIAT:

                                          COUNT    1
                      (Conspirdcy To Distribute Methamphetamine)

       Beginning in or about approximately,August20lg, and continuing through in or

about December 2019, the exact dates being unknown to the grand           jury, in the State and

District of Minnesota. the defendants.

                                    KYLE DALE CLARK,
                                   JOSE ARCEGA-VEJAR,
                                         a/Wa"Ios Ar,"
                                     alWa"I.ose Robles;"
                              VALERIE ANN CLARK,
                           VAIIESSA LOUISE COBENAIS,
                               KATHI LYN DUDLEY,
                         DREIV       WLLIAM GRAVES,, and
                      KALYSSA        KAILAI\I DEANAH WHITE,                         SCAN    zu   ffiD
                                                                                    ocT 0 7   2020
                                                                               U,S. DISTRICT COUHI MPLS
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did unlawfully, knowingly, and intentionally conspire with each other and others known

and unknown to the grand              jury, to possess with intent to distribute, and to distribute 50

grams or more of methamphetamine, a controlled substance, all in violation of.Title 21,

United States Code, Sections 841(a)(1), 841(bX1XA), and 846.

                                                  COUNT 2
                                      (Felon in Possession of a Firearm)

         On or about November 2, 2019, in the State and District of Minnesota, the

defendant,

                                           I(YLE DALE CLARK,

having previously been convicted of the following crime, which is punishable by

imprisonment for a term exceeding one year:

                Offense                          Place of Conviction          Date of Conviction
                                                                                (On or About)
    Assault Rdsulting in Serious             U.S. District Court, District        I2t9t20r5
             Bodilv Iniurv                          of Minnesota

and knowing he had been convicted of at least one crime punishable by imprisonment for

a   term exceeding one year, did knowingly possess, in and affecting interstate and foreign

commerce, a firearm, to           wit:   a'Glock model 26gen5,9mm pistol, serial number ADLP

470, all in violation of Title 18, United States Code, Sections 922(e)Q) arrd92a@)Q).

                                               couNT 3
                         (Sale or Transfer of a Firearm to a Prohibited Person)

         On or about October 19,2019, in the State and District of Minnesota, the defendant,

                                         COREY LEE DONNELL.
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knowingly sold and otherwise disposed of a firearm, to            wit:   a   Glock model 26gen5,9mm

pistol, serial number ADLP 470,to Kyle Dale Clark, knowing and having reasonable cause

to believe that Kyle Dale Clark had been convicted of a crime'.of                      punishable by

imprisonment for a term exceeding one year, all in violation.of Title 18, United States'

Code,   S   ections 922(d)(I) and 924(a)(2).

                                      FORX'EITURE ALLEGATIONS

         Count 1 of this Indictment is incorporated by reference for the purpose of alleging

forfeitures pursuant to Title 21, United States Code, Section 853.

         If convicted of Count 1 in this Indictment. the defendants.
                                         .KYLE DALE CLARKO
                                        JOSE ARCEGA-VEJAR,
                                             a/Wa"Ios Ar,"
                                             alWa"Jose Robles;"
                                    VALERIE ANN CLARK,
                                 VANESSA LOUISE COBENAIS,
                                     KATHI LYN DUDLEY,
                                 DREW WILLIAM GRAVES, &rd '
                              KALYSSA KAILANI DEAIIAH WHITE.

shall forfeit to the United States pursuant to Title              2I, United    States Code, Sections

853(aX1) and (2), any and all properfy constituting, or derived from, any proceeds the

defendants obtained directly or indirectly as a result of said violations, and any and all

properly used, or intended to be used, in any manner or part to commit or to facilitate the

commission of said violations, including, but not limited to $5,636 in U.S. Currency from

Kyle Dale Cla?k during his November 2, 2019 arrest.                   If any of the above-described
forfeitable property is unavailable for forfeiture, the United States intends to seek the

forfeiture of substitute property       as   provided in Title 21, United States Code, Section 853(p).
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          Counts 2 and 3 of this Indictment are hereby realleged and incorporated by reference

as   if fully   set forth herein for the purpose of alleging forfeiture pursuant to   Title   18,   United

States Code, Section 924(d)(I) and Title 28, United States Code, Section 2461(c).

          If KYLE DALE CLARK or COREY LEE DONNELL are convicted of any of

Counts 1-3 in this Indictment, defendants shall forfeit to the United States pursuant to Title

18, United States Code, Section 924(d)(l),             in conjunction with Title 28, United         States

Code, Section 246I(c), any firearms, accessories or ammunition involved                 in or used in

knowing violation of these Counts, including, but not limited to, a.Glock model 26gen5,

9mm pistol, serial number             ADLP 470, and any ammunition. and accessories                 seized

therewith.

                                            A TRIIE BILL




LINITED STATES ATTORNEY                                  FOREPERSON




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